






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00254-CR






Antione Whittman, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT

NO. 61210, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		This appeal is dismissed for want of prosecution.  Antione Whittman was convicted
of possession with intent to deliver a controlled substance.  His ten-year prison sentence was
probated for ten years.  No affidavit of indigence for appeal appears in the clerk's record, and
the&nbsp;trial court noted in a March 7, 2008 docket entry that it found appellant was not indigent and
told&nbsp;him that he did not qualify for appointed counsel.  Whittman filed a notice of appeal pro se on
April 17, 2008.  A clerk's record was filed on the deadline to file records in this case, June 9, 2008. 
In response to this Court's clerk's notice of late reporter's record, the reporter informed this Court
that Whittman had not paid or made arrangements to pay for the record.

		By order dated October 15, 2008, this Court set a deadline of November 7, 2008,
for&nbsp;Whittman to pay or make arrangements to pay for the reporter's record.  If he failed to get a
reporter's record prepared, this appeal would be submitted on the clerk's record and his brief would
be due December 7, 2008.  The original notice was returned to sender with a forwarding address. 
A notice sent to the new address was also returned to sender, this time without a forwarding address. 
Whittman has not apprised this Court of his current address, has not informed this Court that he
has&nbsp;paid or made arrangements to pay for the reporter's record, and has not filed a brief based on
the&nbsp;clerk's record.

		We dismiss this appeal for want of prosecution.



						                                                                                    

						G. Alan Waldrop, Justice

Before Justices Patterson, Pemberton and Waldrop

Dismissed for Want of Prosecution

Filed:   February 6, 2009

Do Not Publish


